Case 5:12-cv-00630-LHK Document 135-2 Filed 04/24/12 Page 1 of 6




          EXHIBIT 1
         Case 5:12-cv-00630-LHK Document 135-2 Filed 04/24/12 Page 2 of 6



 1   JOSH A. KREVITT (CA SBN 208552)              MICHAEL A. JACOBS (CA SBN 111664)
     jkrevitt@gibsondunn.com                      mjacobs@mofo.com
 2   H. MARK LYON (CA SBN 162061)                 RICHARD S.J. HUNG (CA SBN 197425)
     mlyon@gibsondunn.com                         rhung@mofo.com
 3   GIBSON, DUNN & CRUTCHER LLP                  MORRISON & FOERSTER LLP
      1881 Page Mill Road                         425 Market Street
 4   Palo Alto, California 94304-1211             San Francisco, California 94105-2482
     Telephone: (650) 849-5300                    Telephone: (415) 268-7000
 5   Facsimile: (650) 849-5333                    Facsimile: (415) 268-7522
 6

 7   Attorneys for PlaintiffApple Inc.
 8

 9
                                    UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                             SAN JOSE DIVISION
12

13
     APPLE INC., a California corporation,
14
                           Plaintiff,
15
            v.                                      CASE NO. 12-cv-00630-LHK
16
     SAMSUNG ELECTRONICS CO., LTD., a               APPLE INC.'S FIRST SET OF
17   Korean corporation; SAMSUNG                    PRELIMINARY INJUNCTION REQUESTS
     ELECTRONICS AMERICA, INC., a New               FOR PRODUCTION TO DEFENDANTS
18   York corporation; and SAMSUNG
     TELECOMMUNICATrONS AMERICA,
19   LLC, a Delaware limited liability company,

20                         Defendants.

21

22

23

24

25

26

27

28
     APPLE INC.'S FIRST SET OF PRELIMINARY INJUNCTION
     REQUESTS FOR PRODUCTION
     CASE NO. 12-cv-00630-LHK
         Case 5:12-cv-00630-LHK Document 135-2 Filed 04/24/12 Page 3 of 6



 1   including but not limited to, the email application, Messaging application, Contacts application or

 2   Calendar application.
 3
     REQUEST NO.9
 4
            Source code and any other instructions utilized by or implemented on the Samsung Galaxy
 5
     Nexus relating to the features and functionality used by the Samsung Galaxy Nexus that Apple has
 6
     alleged infring~ the Preliminary Injunction Patents, including Slide to Unlock, Text Correction,
 7

 8   Unified Search, and Special Text Detection.

 9   REQUEST NO. 10
10          Source code and any other instructions utilized'by the Samsung Galaxy Nexus relating to the
11
     keyboards to type or otherwise enter text, including but not limited to entering letters, numbers, and
12
     punctuation marks.
13
     REQUEST NO. 11
14

15          Source code and any other instructions utilized by the Samsung Galaxy Nexus relating to the

16   Android Quick Search Box, the functionality for software, applications, modules or other sources to

17   be available for search within the Android Quick Search Box, the functionality to search software,
18
     applications, modules or other sources from a single user interface or software module, including, but
19
     not limited to the ability to select which software, applications, modules or other sources will be
20
     searched and the functionality or interface to make the software, applications, modules or other
21
     sources searchable through the single user interface or software module.
22
23   REQUEST NO. 12

24          Source code and any other instructions utilized by the Samsung Galaxy Nexus relating to the

25   typing, entry, correction, change, or modification oftext, including letters, numbers, and punctuation
26
     marks, in applications, including but not limited to, the email application, Messaging application,
27
     Contacts application or Calendar application used by the Samsung Galaxy Nexus.
28
     APPLE INC.'S FIRST SET OF PRELIMINARY INJUNCTION
     REQUESTS FOR PRODUCTION
     CASE NO. 12-cv-00630-LHK                                                               7
         Case 5:12-cv-00630-LHK Document 135-2 Filed 04/24/12 Page 4 of 6



 1   REQUEST NO. 13

 2          Source code.and any other instructions utilized by or implemented on the Samsung Galaxy
 3
     Nexus relating to the recognition of text within a web page, email message, text message, SMS
 4
     message, MMS message or other text displayed to a user of the Samsung Galaxy Nexus representing
 5
     an email address, phone number, physical address, date, time, calendar entry or fax number,
 6
     including text containing partial representations of those items and the ability to select the text and
 7

 8   perform an action with the text such as placing a telephone call, looking up an address or storing in

 9   the Contacts application.
10
     REQUEST NO. 14
11
            All Documents relating to any analysis, review, consideration, evaluation, inspection, tear-
12
     down report, or copying of any Apple product, feature, or functionality, including but not limited to
13
     any comparisons between any Apple product, feature, or functionality and any actual or contemplated
14

15   features or functionality Samsung included or considered including with its smartphones, including

16   but not limited to the Samsung Galaxy Nexus, or tablet computers.

17   REQUEST NO. 15
18
            All documents relating to any analysis, review, consideration, evaluation, inspection, tear-
19
     down report, or copying of any Apple product relating to the features and functionality used by the
20
     Samsung Galaxy Nexus that Apple has alleged infringe the Preliminary Injunction Patents, including
21
     Slide to Unlock, Text Correction, Unified Search, and Special Text Detection.
22
23   REQUEST NO. 16

24          All Documents relating to any analysis, review, consideration, evaluation, or attempts to

25   design around or otherwise avoid infringement of the Preliminary Injunction Patents.
26
     REQUEST NO. 17
27
            All Documents relating to the design or development of the Samsung Galaxy Nexus that
28
     APPLE INC.'S FIRST SET OF PRELIMINARY INJUNCTION
     REQUESTS FOR PRODUCTION
     CASE NO. 12-cv-00630-LHK                                                                8
         Case 5:12-cv-00630-LHK Document 135-2 Filed 04/24/12 Page 5 of 6



 1
     Dated: March 6, 2012                    GIBSON, DUNN & CRUTCHER LLP
 2

 3
                                             By:         If. ~~
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28   APPLE INC. 'S FIRST SET OF PRELIMINARY INJUNCTION
     REQUESTS FOR PRODUCTION
     CASE NO. 12-cv-00630-LHK
                        Case 5:12-cv-00630-LHK Document 135-2 Filed 04/24/12 Page 6 of 6


                                                                                  th
               1            I, Lorraine Nishiguchi, hereby certify that on this 6 day of March, 2012, I did cause the

               2   following documents to be served in the following manner:

               3                      •   Apple Inc.' s First Set of Preliminary Injunction Interrogatories to Defendants

               4                                     •    Apple Inc.'s First Set of Requests for Production

               5

               6   Victoria F. Maroulis
                   Kevin P.B. Johnson
               7   Quinn Emanuel Urquart & Sullivan, LLP
                   555 Twin Dolphin Drive, 5th Floor
               8   Redwood Shores, California 94065
                   (650) 801-5000
               9   victoriamaroulis@quinnemanuel.com
           10      kevinjohnson@quinnemanuel.com

           11
                            BY PERSONAL SERVICE: I placed a true copy in a sealed envelope addressed to each
           12               person[s] named at the address[es] shown and giving same to a messenger for personal delivery
                            before 5:00 p.m. on the above-mentioned date.
           13

           14
                   Dated:      March 6, 2012
           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28

                   ApPLE INC. 's CERTIFICATE OF SERVICE
Gibson. Dunn &
                   CASENo.                                               2
Crutcher LLP
